         CASE 0:21-cv-01299-PJS-DJF Doc. 83 Filed 02/01/22 Page 1 of 6




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 Fnu Brunhilda,                                            Case No.: 21-CV-1299 (PJS/DTS)

                              Plaintiff,
 v.
                                                     PLAINTIFF’S SUPPLEMENTAL
 Purdue University Global and Indiana                MEMORANDUM REGARDING
 Commission of Higher Education,                      PERSONAL JURISDICTION

                              Defendants.


       Plaintiff Fnu Brunhilda respectfully submits this supplemental brief regarding

Knowlton v. Allied Van Lines, Inc., 900 F.2d 1196 (8th Cir. 1990). Put simply, Knowlton

is binding precedent, and nothing in the Supreme Court’s intervening decisions in

Goodyear Dunlop Tires Ops., S.A. v. Brown, 564 U.S. 915 (2011) or Daimler AG v.

Bauman, 571 U.S. 117 (2014) calls the vitality of Knowlton into question—particularly as

it pertains to specific jurisdiction over Defendant Purdue University Global (“Purdue”) for

claims that are related to the educational services it registered to offer in Minnesota.

       In Knowlton, the Eighth Circuit clearly held: “[o]ne of the most solidly established

ways of giving such consent [to the exercise of personal jurisdiction] is to designate an

agent for service of process within the State.” 900 F.2d at 1199. This is because

appointment of an agent for service of process is “a traditionally recognized and well-

accepted species of general consent . . . of such long standing as to be taken for granted.”

Id. at 1200 (emphasis added). Thus, “appointment of an agent for service of process . . .

gives consent to the jurisdiction of Minnesota courts for any cause of action.” Id.
         CASE 0:21-cv-01299-PJS-DJF Doc. 83 Filed 02/01/22 Page 2 of 6




       Purdue does not dispute that it is registered to transact business in this state to offer

educational services—and has been since 2018. In fact, it appears that Purdue has

registered to offer its educational services in every state, according to a brief search of the

surrounding Secretary of State filings for Iowa, North Dakota, South Dakota, and

Wisconsin.1 This is because Purdue actively provides educational services to residents like

Plaintiff (who once resided in Minnesota) in Minnesota and throughout the country.

       Purdue registers to transact business in Minnesota because it recognizes it must by

law, and it also wishes to avail itself of the benefits and protections of Minnesota law.

Registering and appointing an agent for service of process in Minnesota grants Purdue the

privilege to “transact business” in the state; it is not authorized to do so without registering.

Minn. Stat. §§ 303.03, 303.10. By registering to transact business, Purdue avails itself of

the “same rights and privileges that a domestic corporation would possess . . . and shall be

subject to the laws of this state.” Minn. Stat. § 303.09. As the Supreme Court has put it, by

registering and appointing an agent for service of process, Purdue “purposefully avails

itself of the privilege of conducting activities within the forum State, thus invoking the

benefits and protections of its laws.” Hanson v. Denckla, 357 U.S. 235, 253 (1958).

       Purdue is not forced to offer educational services in Minnesota; that is entirely its

voluntary choice. But by registering to transact business and appointing an agent for service

of process, Purdue agrees to be “subject to the laws of this state.” Minn. Stat. § 303.09. In



1
  As an aside, there is a certain irony in Purdue University Global claiming it is not subject
to personal jurisdiction—much like International Shoe Company.


                                               2
         CASE 0:21-cv-01299-PJS-DJF Doc. 83 Filed 02/01/22 Page 3 of 6




this, Purdue knowingly and purposefully consents to the jurisdiction of the courts venued

in this state. Just like other educational institutions who register in Minnesota, it is therefore

subject—at a bare minimum—to suit in Minnesota related to the educational services it

registered to transact. For example, the Attorney General could pursue litigation in

Minnesota against Purdue for deceptive practices, as he has against other educational

institutions. E.g., State v. Minnesota Sch. of Bus., Inc., 935 N.W.2d 124 (Minn. 2019).

       Although some litigants have attempted to argue that their consent to be “subject to

the laws of this state” ought to be disregarded and that Knowlton is no longer good law,

this Court has consistently held that “because Knowlton remains good law in the Eighth

Circuit, this Court is bound by it.” Lehman Bros. Holdings Inc. v. LendingTree, LLC, No.

20-CV-1351 (SRN/HB), 2021 WL 1087695, at *8 (D. Minn. Mar. 22, 2021); e.g., Pers.

Wealth Partners, LLC, v. Ryberg, No. 21-CV-2722 (WMW/DTS), 2022 WL 154525, at *2

(D. Minn. Jan. 18, 2022) (most recent decision applying Knowlton). Purdue has not cited

a single case from this District declining to apply Knowlton—there is none.

       Rather, Purdue argues that the Supreme Court’s decisions in Goodyear and Daimler

effectively abrogated Knowlton. This is a stretch of longer-than “long-arm” proportions

when it comes to registration in Minnesota. First, in Goodyear, the Supreme Court held

that foreign subsidiaries of a tire manufacturer were not subject to suit in North Carolina

for an accident that occurred in France. See 564 U.S. at 918. In its discussion, the Supreme

Court specifically noted: “In contrast to the parent company, Goodyear USA, which does

not contest the North Carolina courts’ personal jurisdiction over it, petitioners are not

registered to do business in North Carolina.” Id. at 921 (emphasis added). And the


                                                3
         CASE 0:21-cv-01299-PJS-DJF Doc. 83 Filed 02/01/22 Page 4 of 6




Supreme Court reiterated that, absent consent to suit in the forum, mere “continues activity

of some sorts within a state” is “not enough to support the demand that the corporation be

amenable to suits unrelated to that activity.” Id. at 927-28 (emphasis added) (quoting

International Shoe Co. v. Washington, 326 U.S. 310, 318 (1945) and Donahue v. Far

Eastern Air Transport Corp., 652 F.2d 1032, 1037 (D.C. Cir. 1981)). In summary, the out-

of-state corporations in Goodyear had neither registered to do business in North Carolina,

nor had they consented to suit. Furthermore, the action at issue was completely unrelated

to the out-of-state corporations’ conduct in North Carolina.

       In Daimler, the Court again faced a situation in which an out-of-state company

based in Germany was sued in California on claims ultimately “having nothing to do with

anything that occurred or had its principal impact in California.” 571 U.S. at 139. As in

Goodyear, the Supreme Court reaffirmed its precedent that there is no general jurisdiction

over an out-of-state defendant in the absence of consent to suit in the state at issue. Id. at

129 (citing Goodyear, 564 U.S. at 928). It also reaffirmed that specific jurisdiction enables

courts to “hear claims against out-of-state defendants when the episode-in-suit occurred in

the forum or the defendant purposefully availed itself of the forum.” Id. at 128 (emphasis

added). In Daimler, the German company had not consented to suit in California, and it

had not availed themselves of the benefits and protections of California law.

       Goodyear and Daimler bear little resemblance to the case before the Court. Neither

case involved registration to do business that, by its terms, entitled the out-of-state

defendant to “same rights and privileges that a domestic corporation would possess,” while

at the same time required that the defendant “shall be subject to the laws of this state.”


                                              4
         CASE 0:21-cv-01299-PJS-DJF Doc. 83 Filed 02/01/22 Page 5 of 6




Minn. Stat. § 303.09. Neither case involved consent to suit by registration and appointment

of an agent for service of process. Here, by contrast, Purdue has registered to do business

in Minnesota and thus has consented to be subject to the laws of this state pursuant to the

plain terms of Minnesota Statute § 303.09. Other states’ registration statutes may be mere

“bureaucratic measures,” but Minnesota’s specifically states that registrants have the same

rights and responsibilities as residents. Through Minnesota registration, Purdue has availed

itself of the benefits and protections of Minnesota law. See Hanson, 357 U.S. at 253.

       Furthermore, both cases involved issues of general jurisdiction, not specific

jurisdiction—as do the other cases cited by Purdue from other circuits and districts. Here,

the Court is not faced with a difficult decision of whether to assert general jurisdiction over

Purdue for claims having nothing to do with the educational business Purdue registered to

transact in this state. Instead, Plaintiff’s claims are directly related to Purdue’s business of

providing educational services in this state. Thus, even if Daimler and Goodyear changed

the general personal jurisdiction analysis as to claims having nothing to do with the

defendant’s contacts with the forum, the Court need not rely on general personal

jurisdiction and instead may rely on Purdue’s contacts with Minnesota and consent to

jurisdiction specifically related to the business it registered to transact in this state.

       For these reasons, Plaintiff respectfully requests that the Court deny Purdue’s

motion to dismiss on personal jurisdiction grounds under Knowlton.




                                                5
             CASE 0:21-cv-01299-PJS-DJF Doc. 83 Filed 02/01/22 Page 6 of 6




                                              Respectfully Submitted,


Dated: February 1, 2022                       WINTHROP & WEINSTINE, P.A.


                                              s/ Kyle R. Kroll
                                              Kyle R. Kroll, #0398433
                                              225 South Sixth Street, Suite 3500
                                              Minneapolis, Minnesota 55402
                                              (612) 604-6400
                                              kkroll@winthrop.com

                                              Attorney by Limited Appearance for
                                              Plaintiff Fnu Brunhilda
23347992v1




                                          6
